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UNITED STATES DISTRICT COURT Na Ae
MIDDLE DISTRICT OF PENNSYLVANIA

  

KARL P. BECKER,
Plaintiff,

-Vs- : (CARLSON, M.J.)
KILOLO KIJAKAZI, :
Acting Commissioner
of Social Security, :
Defendant. [FILED VIA ECF]
ORDER

AND NOW, this _24 day of _ Novewtao, _, 2021,
upon consideration of the afore-stated Stipulation, it 1s hereby,

ORDERED that Plaintiff, Karl P. Becker, is awarded Three
Thousand One Hundred Twenty Dollars and 00/100 Cents ($3,120.00)
in attorney fees under EAJA and Four Hundred Two Dollars and 00/100
($402.00) in costs. The attorney fees will be paid directly to Plaintiff,
Karl P. Becker, and sent to the business address of Plaintiffs counsel,
Noah G. Naparsteck, Esquire. Full or partial remittance of the
awarded attorney fees will be contingent upon a determination by the

Government that Plaintiff owes no qualifying, pre-existing debt(s) to the

Government, If such a debt(s) exists, the Government will reduce the
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awarded attorney fees in this Order to the extent necessary to satisfy
such debt(s).
BY THE COURT:

Mabe CC Mson

MARTIN C. CARLSON
United States Magistrate Judge

 
